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13                            UNITED STATES DISTRICT COURT

14                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
15   UNITED STATES OF AMERICA,                    No. SACR 19-047-JLS

16               Plaintiff,                       FINDINGS OF FACT REGARDING
                                                  UNVACCINATED PROSPECTIVE JURORS
17                    v.

18   STEPHEN WILLIAM BEAL,

19               Defendant.

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22         The Court, having read and considered the government’s ex parte
23   application for findings of fact regarding unvaccinated prospective
24   jurors, hereby makes the following findings:
25         (1)   Defendant Stephen William Beal (“defendant”) is charged
26               with use of a weapon of mass destruction resulting in death
27               (18 U.S.C. § 2332a(a)(2)), malicious destruction of a
28               building resulting in death (18 U.S.C. § 844(i)), use of a
29               destructive device during and in relation to a crime of

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 1               violence (18 U.S.C. § 924(c)), and possession of an

 2               unregistered destructive device (26 U.S.C. § 5861(d)).

 3               Defendant’s trial is scheduled to begin on June 15, 2022.

 4         (2)   The Court intends to excuse all unvaccinated individuals

 5               from the pool of prospective jurors in this case.

 6         (3)   On June 7, 2022, at a pre-trial conference, the Court

 7               proposed to the parties that unvaccinated individuals be

 8               excused from the pool of prospective jurors in this case.

 9               On June 10, the Defendant agreed to the Court’s

10               proposal and consented on the record to a vaccinated jury.

11         (4)   Unvaccinated individuals are not a distinctive group for

12               purposes of jury service.

13               a.     The population of unvaccinated individuals does not

14                      have a fixed or definite composition.         Because

15                      vaccination status is not an immutable

16                      characteristic, membership in this group changes on a

17                      daily basis.    Indeed, every individual who is now

18                      vaccinated was previously unvaccinated.

19               b.     Second, unvaccinated individuals do not share common

20                      attitudes, viewpoints, or experiences.         There are

21                      many reasons why an individual may not be vaccinated.

22         (5)   Current data reflects that more than 70% of eligible

23               residents in Los Angeles County are fully vaccinated.             This

24               high vaccination rate demonstrates that individuals in this

25               District have broadly chosen to be vaccinated -- whatever

26               their race, gender, religion, or other protected or

27               immutable characteristics.


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 1         (6)   Unvaccinated jurors are being excused for good cause.

 2               Excusing unvaccinated jurors will protect health and safety

 3               and prevent disruption to the proceedings in this matter.

 4               As public health authorities have found, unvaccinated

 5               individuals are much more likely to contract COVID-19 and

 6               spread it to other people.       This heightened risk will

 7               threaten the safety of other jurors, the parties,

 8               witnesses, members of the public, and Court staff.           In

 9               addition, the Court may be forced to delay or continue the

10               trial if a trial participant contracts COVID-19, and the

11               presence of unvaccinated jurors risks impeding or

12               interfering with jury deliberations.

13         Based on the foregoing findings of fact, the Court finds that

14   the excusal of all unvaccinated prospective jurors in this case is

15   supported by good cause.

16         IT IS SO ORDERED.

17         June 14, 2022

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       DATE                                     HONORABLE JOSEPHINE L. STATON
19                                              UNITED STATES DISTRICT JUDGE
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